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                IN THE UNITED STATES DISTRICT COURT
               FOR THE EASTERN DISTRICT OF MICHIGAN


DISPLAY TECHNOLOGIES, LLC,                    Case No. 2:20-cv-10392-SJM-MJH

                                              Hon. Stephen J. Murphy
       Plaintiff,

       v.

  ALPINE ELECTRONICS OF
  AMERICA, INC.,

       Defendant


                            Stipulation of Dismissal

      Plaintiff Display Technologies, LLC and Defendant Alpine Electronics of

America, Inc. have settled the above-captioned matter. Accordingly, by their

respective undersigned counsel, the parties hereby STIPULATE and AGREE as

follows:

      1.     All claims asserted in the Complaint (Doc. No 1) are dismissed with

             prejudice under Fed. R. Civ. P. 41(a)(1)(A)(ii);

      2.     Count I of Alpine’s Counterclaim (Doc. No. 10) is dismissed with

             prejudice, and Count II of Alpine’s Counterclaim (Doc. No. 10) is

             dismissed without prejudice; and

      3.     Each party shall bear its own costs and attorneys’ fees with respect to

             the matters dismissed hereby.

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This Stipulation and the entry of the accompanying proposed Order shall finally

resolve the Action between the parties.

Dated: July 23, 2020            Respectfully submitted,

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                        CERTIFICATE OF SERVICE

       The undersigned certifies that all counsel of record who have consented to
electronic service are being served with a copy of this document via the Court’s
CM/ECF system per Local Rule CV-5(a)(3) on July 23, 2020.

                                     /s/ Maxwell Goss         .
                                     Maxwell Goss




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